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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEBRASKA


    UNITED STATES OF AMERICA,
                    Plaintiff,
                                                                   CASE NO: 4:16MJ3020
            vs.

    OSCAR J. GARCIA,                                               DETENTION ORDER
                           Defendant.


        The defendant is charged with a drug crime under the Controlled Substances Act (21 U.S.C. § 801
et seq.), for which the defendant could be required to serve ten or more years in prison. On the
government's motion, the court held a detention hearing under the Bail Reform Act, 18 U.S.C. § 3142(f).
The court concludes the defendant must be detained pending a preliminary hearing.

        There is a rebuttable presumption that no condition or combination of conditions of release will
reasonably assure the defendant’s appearance at court proceedings and the safety of the community
because there is probable cause to believe the defendant committed a drug crime under the Controlled
Substances Act (21 U.S.C. § 801 et seq.), for which the defendant could be required to serve ten or more
years in prison. The defendant has not rebutted this presumption.
        Based on the evidence presented and information of record, the court finds by a preponderance of
the evidence that the defendant's release would pose a risk of nonappearance at court proceedings, and by
clear and convincing evidence that the defendant's release would pose a risk of harm to the public
        Specifically, the court finds that the defendant has a criminal record which indicates a propensity
to violate the law and court orders; has a propensity to harm or threaten harm to others; is addicted or
abuses mood-altering chemicals and is likely to continue such conduct and violate the law if released; has
access to Mexico, has traveled there recently, and could flee the country before trial; has limited contacts
with Nebraska; lacks a stable residence; and conditions which restrict Defendant’s travel, personal
contacts, and possession of drugs, alcohol, and/or firearms; require reporting, education, employment, or
treatment; or monitor Defendant’s movements or conduct; or any combination of these conditions or
others currently proposed or available (see 18 U.S.C. § 3142(c)), will not sufficiently ameliorate the risks
posed if the defendant is released.

                                    Directions Regarding Detention
       The defendant is committed to the custody of the Attorney General or a designated representative
for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or
serving sentences or held in custody pending appeal. The defendant must be afforded a reasonable
opportunity to consult privately with defense counsel. On order of the United States Court or on request
of an attorney for the Government, the person in charge of the corrections facility must deliver the
defendant to the United States marshal for a court appearance.
            Dated March 3, 2016.                         BY THE COURT:
                                                         s/ Cheryl R. Zwart
                                                         United States Magistrate Judge
